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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §    CASE NO. 1:03cr145-4
                                                   §
 JAMES A. GODFREY                                  §

            MEMORANDUM ORDER ADOPTING THE MAGISTRATE JUDGE'S
                     REPORT AND RECOMMENDATION

          The court referred a petition alleging violation of supervised release conditions to the

 Honorable Earl S. Hines, United States Magistrate Judge, at Beaumont, Texas, for consideration

 pursuant to applicable laws and orders of this court. The court has received and considered the

 Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

 pleadings and all available evidence.

          At the close of the revocation hearing, defendant, defense counsel and counsel for the

 government, each signed a standard form waiving their right to object to the proposed findings and

 recommendations contained in the magistrate judge's report, consenting to revocation of

 supervised release and imposition of the sentence recommended therein. Defendant also waived

 his right to be present with counsel and to speak at sentencing.

          Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

 and the report of the magistrate judge is ADOPTED. It is therefore

          ORDERED and ADJUDGED that the petition is GRANTED and defendant's supervised

 release is REVOKED. Judgment and commitment will be entered separately, in accordance with
           .
          SIGNED   at Beaumont,
 the magistrate judge’s         Texas, this 7th day of September, 2004.
                        recommendations.
          SIGNED at Beaumont, Texas, this 31st day of May, 2011.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
